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                   UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
                         WESTERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,
                                 Case No. 21-cr-00157
vs.                              Hon. JEFFREY J. HELMICK

SIR MAEJOR PAGE,

                      Defendant.
___________________________________/
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________________________________/

       DEFENSE COUNSEL’S UNOPPOSED MOTION TO WITHDRAW
                   AND TO APPOINT COUNSEL




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        NOW COMES attorney Sanford A. Schulman, the Undersigned Counsel

for the Defendant SIR MAEJOR PAGE in the pending matter and submits this

unopposed Motion to Withdraw as the attorney of record and to appoint counsel

for the defendant for the following reasons:

        1. The defendant, SIR MAEJOR PAGE was originally charged by way of

Criminal Complaint and later by way of an Indictment with Wire Fraud and Money

Laundering. (R. 1, Criminal Complaint and R. 15, Indictment).

        2 At the time of his initial appearance on September 25, 2020, the

defendant waived his right to a Preliminary Hearing, was released on a

$10,000.00 unsecured bond and based on his Financial Affidavit was appointed

Neil S. McElroy as his attorney pursuant to the Criminal Justice Act (CJA). (R. 4,

Appearance Bond).

        3. On March 17, 2021, the undersigned filed a Motion to Appear Pro Hac

Vice and an Order Granting that motion was entered at a hearing on March 17,

2021. (R. 16, Motion for Admission PHV and Order).

        4. A protective order for the discovery was entered by stipulation on April

19, 2021. (R. 18, Stipulation for Protective Order). The defendant and the

undersigned met several times in person and by zoom conference in Detroit and

Toledo to review the discovery, guidelines, discuss a possible plea and discuss

trial rights.

        5. Pretrial conferences were held on August 3, 2021, September 1, 2021,

and September 15, 2021 and the parties and counsel explored a resolution. This

Court scheduled an in-person pretrial on September 28, 2021 at which time it




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became apparent that there was a break-down in the communication between

the defendant and counsel.

       6. At a hearing on September 29, 2021 which was scheduled as a change

of plea hearing, the defendant represented to the court that he wanted this court

to grant a motion to allow defense counsel to withdraw and to appoint counsel.

There has clearly been a break-down in the

       7. The defendant seeks to withdraw the undersigned as counsel and

pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, the appointment of

counsel. United States v. Anderson, No. 3:19-CR-220-TAV-DCP-3, 2021 U.S.

Dist. LEXIS 6616 (E.D. Tenn. Jan. 13, 2021).

       8. The Government expressed no objection to the request but noted that

this will be the defendant’s third attorney.

       9. The defendant is indigent and unable to afford counsel and filed under

seal is a Financial Affidavit (CJA 23).

       WHEREFORE, the Undersigned Counsel for the Defendant SIR MAEJOR

PAGE requests this court grant this unopposed Motion to Withdraw as the

attorney of record and to appoint counsel for the defendant for the reasons so

stated herein.

                             Respectfully submitted,

                             /s/ Sanford A. Schulman
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Date: October 5, 2021



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